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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF MISSOURI

STATE OF MISSOURI, ex rel.
Chris Koster, and the
MISSOURI DEPARTMENT
OF NATURAL RESOURCES,

Plaintiff,

v. Civil Action No.

UNITED STATES ARMY CORPS
OF ENGINEERS,

MAJOR GENERAL MICHAEL J. WALSH,
COLONEL VERNIE L. REICHLING JR.

Defendants.
Affidavit of Paul D. Parmenter
I, Paul D. Parmenter alter being duly swom, do hereby state that the following is based
upon my personal knowledge and is true and accurate to the best of my recollection:

1. My name is Paul D. Parmenter, and I am the Director of the State Emergency
Management Agency (“SEMA”) for the Missouri Department of Public Safety. In that capacity,
I coordinate with other state agencies on state legislation relating to emergency preparedness,
earthquake issues and floodplain management. I am responsible for the day-to-day operations of
SEMA, which is housed in the Missouri Department of Public Safety under the Missouri
Adjutant General's Offlce.

2. Since the flooding began in Southeast Missouri, I have been conducting SEMA’s
emergency preparedness and disaster relief response effort.

3. I have had several opportunities to review the “Birds Point - New Madrid

Floodway Operations Plan” (“Birds Point Plan”) and am familiar with it.

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4. The Birds Point Plan calls for blowing up a portion of the Front Line Levee,
which is located near Cairo, lllinois, so that flood waters can be directed into more than 13(),000
acres of Missouri land when certain conditions are met.

5. According to the Birds Point Plan, the New Madrid Floodway “norrnally” will not
be placed in operation until flood heights in excess of 60 feet on the Cairo gage are predicted.

6. The Birds Point Plan gives broad discretion to the president of the Mississippi
River Commission (“MRC”). The president of the MRC, alone, will decide whether to
intentionally breach the Front Line Levee when “absolutely essential” to provide authorized
protection to all citizens.

7. As of April 26, 2011, the flood height was approximately 56 feet on the Cairo
gage.

8. The National Weather Service predicts that the Mississippi River will crest, or
peak, at a flood height of 61 feet on May 3, 2011.

9. The National Weather Service is basing its prediction, in part, on information
controlled by the United States Arrny Corps of Engineers.

lO. The United States Arrny Corps of Engineers controls the Barkley Dam, which is
located upriver from the Front Line Levee. The Barkley Dam prevents water in the Kentucky
River from flowing into the Ohio River. The Ohio River flows into the Mississippi at the
confluence at Cairo, lllinois.

l l. The United States Arrny Corps of Engineers has been releasing water from the
Barkley Dam into the Ohio River, which has then flowed into the Mississippi River, causing the

flood height to go up.

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12. If the United States Arrny Corps of Engineers stops releasing water from the
Barkley Dam, the flood height level at the Cairo gage may go down.

13. I believe the United States Arrny Corps of Engineers has failed to demonstrate
that it is “absolutely essential” to intentionally breach the Front Line Levee.

14. I believe the United States Arrny Corps of Engineers has also failed to
demonstrate that the Front Line Levee is in danger of overtopping, as the United States Arrny
Corps of Engineers has not taken action to prevent the flow of water from the Barkley Dam into
the confluence at Cairo, Illinois.

15. I believe the United States Arrny Corps of Engineers has failed to demonstrate
that the integrity of the levee systems protecting communities in the New Madrid Floodway will

be compromised if the Front Line Levee is not intentionally breached.

FURTHER AFFIANT SAYETH NOT: @M

Paul D. Pa`fmenter
Director, State Emergency Management Agency
Missouri Department of Public Safety

STATE OF MISSOURI )

) ss.
COUNTY OF COLE )

Subscribed and sworn before me on this.¢_)ng' day of gpi L_LQ , 2011.

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